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            6

            7

            8
                                            UNITED STATES DISTRICT COURT
            9                              CENTRAL DISTRICT OF CALIFORNIA
           10
                    MILES PARKS MCCOLLUM             )         CASE NO:
           11
                    professionally known as          )
           12       LIL YACHTY,                      )         COMPLAINT FOR:
                                                     )
           13                             Plaintiff, )         1) FEDERAL TRADEMARK
                    v.                               )         INFRINGEMENT, 15 U.S.C. § 1114
           14                                        )
                    OPULOUS, a foreign entity, and   )         2) FEDERAL UNFAIR COMPETITION AND
           15
                    DITTO LTD, d/b/a DITTO           )         FALSE REPRESENTATION OF
           16       MUSIC, a foreign entity, and     )         AFFILIATION, 15 U.S.C. § 1125 (a)
                    LEE JAMES PARSONS, a             )
           17       citizen of a foreign country.    )         3) VIOLATION OF CALIFORNIA
           18                                        )         STATUTORY RIGHT OF PUBLICITY
                                         Defendants. )         CIVIL CODE § 3344
           19       _____________________________ /
                                                               4) VIOLATION OF THE CALIFORNIA
           20                                                  COMMON LAW RIGHT OF PUBLICITY
           21
                                                               5) UNFAIR COMPETITION UNDER
           22                                                  CALIFORNIA BUSINESS & PROFESSIONS
                                                               CODE § 17200
           23
                                                               DEMAND FOR JURY TRIAL
           24

           25           Plaintiff, MILES PARKS MCCOLLUM, professionally known as LIL YACHTY, hereby
           26    sues the Defendants, OPULOUS, DITTO LTD., (hereinafter, “DITTO MUSIC”), and LEE JAMES
           27    PARSONS, (collectively, “Defendants”), and states as follows:
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            1                                  JURISDICTION AND VENUE
            2
                   1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332
            3
                      (diversity of citizenship) because the Plaintiff is a citizen of the State of Georgia and the
            4
                      Defendants are foreign entities and a foreign citizen. Additionally, this Court has subject
            5
                      matter jurisdiction pursuant to 28 U.S.CC. § 1332 (federal question) because Plaintiff is
            6
                      making claims for Federal Trademark Infringement pursuant to 15 U.S.C. § 1114 and for
            7
                      Federal Unfair Competition and False Representation of Affiliation pursuant to 15 U.S.C.
            8
                      1125(a). Lastly, this Court has supplemental jurisdiction over the state law claims under 28
            9
                      U.S.C. § 1367(a) because such claims are so closely related to the federal claim that they
           10
                      form a single case or controversy.
           11

           12      2. This Court has personal jurisdiction over Defendants, OPULOUS, DITTO MUSIC and

           13         LEE JAMES PARSONS, because, on information and belief, all Defendants (a)

           14         disseminated and distributed the tortious advertisements and publications within the State

           15         of California; (b) regularly transact and conduct business within the State of California,

           16         and/or (c) have otherwise made or established contacts within the State of California

           17         sufficient to permit the exercise of personal jurisdiction, including but not limited to

           18         maintaining employees and one or more officers in this jurisdiction.

           19      3. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391 (b)(2) because a substantial
           20         part of the events or omissions giving rise to the claim occurred in this jurisdiction.
           21         Alternatively, venue in this jurisdiction is proper pursuant to 28 U.S.C. § 1391 (b)(2)
           22         because there is no other district which this action could otherwise be brought.
           23
                                                NATURE OF THIS ACTION
           24
                   4. This is an action for trademark infringement under the law of the United States (15 U.S.C.
           25
                      § 1114) unfair competition and false representation of affiliation under the law of the United
           26
                      States (15 U.S.C. § 1125(a)), violation of California’s statutory right of publicity (Civil
           27
                      Code § 3344), violation of the California common law right of publicity, and for unlawful,
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            1         unfair, and fraudulent competition under California’s Business and Professions Code §

            2         17200.

            3      5. In its most condensed version, the facts giving rise to this claim are as follows: Defendants,
            4         collectively, published numerous commercial advertisements and promotions and made
            5         multiple statements to the media falsely representing that Plaintiff, LIL YACHTY - who is
            6         an internationally acclaimed recording artist, style icon, brand ambassador and entrepreneur
            7         – was involved, affiliated, and connected with the launching and offering of Defendants’
            8         new products and services. In the publication of these commercial materials, Defendants
            9         utilized the name, trademark, and photograph of Plaintiff, all without Plaintiff’s consent.
           10         Defendants then collectively and maliciously utilized the alleged affiliation and
           11         involvement of Plaintiff as their flagship artist partnership to successfully raise substantial
           12         venture capital funds (represented as over $6.5 million), yet never remitted any monies to
           13         Plaintiff.
           14
                                                       THE PARTIES
           15
                          Plaintiff, Miles Parks McCollum, professionally known as Lil Yachty
           16

           17      6. Plaintiff, Miles Parks McCollum, is an individual, sui juris, and is a resident of and is

           18         domiciled in Atlanta, Georgia.

           19      7. Plaintiff is professionally known as Lil Yachty, and Plaintiff owns the U.S. federally
           20         registered trademark for the name “Lil Yachty”, serial number 87029468, which was
           21         registered on June 20, 2017. A true and correct copy of the registration certificate is
           22         attached here as “Exhibit A”.
           23
                   8. Plaintiff, who is referred to hereinafter as “LIL YACHTY”, is an internationally acclaimed
           24
                      recording artist, singer, songwriter, rapper, actor, brand ambassador, style icon, and
           25
                      entrepreneur who, at only 24 years old, has achieved tremendous levels of success and
           26
                      fame.
           27
                   9. Hailed as a “mogul” by Rolling Stone magazine and touted by the Guardian as being “one
           28
  Printed On
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            1         prominence in the music industry in 2015 at the age of 17, and since that time has released

            2         four full length studio albums and three mixtapes, achieving both critical acclaim and

            3         substantial commercial success. Plaintiff’s work has received numerous prestigious awards

            4         nominations, including for the Grammys, the Billboard Music Awards, and the MTV Video

            5         Music Awards. As of the current date, 10.5 million listeners stream LIL YACHTY’s music

            6         each month on Spotify, where well over a billion of his songs have been streamed in total.

            7         On YouTube, there are 2.6 million people who subscribe to Plaintiff’s channel, where his

            8         music videos and other content have received over 915 million views. As a performer, LIL

            9         YACHTY routinely performs in front of sell-out crowds of tens of thousands of fans at

           10         concerts and music festivals.

           11      10. Outside of his work as a musician and recording artist, LIL YACHTY has also invested
           12         substantial time, energy, finances, and effort into building a respected and well recognized
           13         brand as well as a diverse portfolio of professional and commercial engagements. With a
           14         distinctive style and appearance that renders him instantly recognizable to tens of millions
           15         of people worldwide, LIL YACHTY has served as a brand ambassador and has appeared
           16         in commercials and promotions for such companies such as Sprite, Adidas, and Target. He
           17         is a creative designer for the hugely popular Nautica clothing company, where there is a
           18         line of clothing released under the LIL YACHTY brand name. Plaintiff has modeled for
           19         Kanye West’s billion-dollar fashion line, Yeezy, and he has appeared in numerous feature
           20         length films as an actor, a voice actor, as well as in portrayals of himself. He has launched
           21         his own cryptocurrency, $YACHTY, which sold out in the first 21 minutes it went on sale.
           22         Plaintiff also has an extremely large social media presence, with over 10.4 million followers
           23         on Instagram, 5.4 million followers on Twitter, and 171 million likes on TikTok.
           24
                   11. As a result of the foregoing, Plaintiff’s name, trademark, likeness, identity, and persona
           25
                      have become widely known by a substantial segment of the public in the United States and
           26
                      internationally.
           27
                   12. Plaintiff has selectively endorsed and partnered with, and continues to selectively endorse
           28
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            1      13. Plaintiff’s name, trademark, likeness, identity, and persona have become, and are, valuable

            2         assets that symbolize Plaintiff and the nature and quality of the various products and

            3         services which he endorses and engages with.

            4      14. Plaintiff regularly receives substantial financial offers requested permission for, and
            5         seeking the use of, Plaintiff’s name, trademark, likeness, identity and persona for licensing,
            6         endorsing, marking and promoting products, services, and performances.
            7
                   15. Plaintiff maintains strict control over the manner in which his name, trademark, likeness,
            8
                      identity and persona are used, and he exercises careful consideration in selecting and
            9
                      approving products, services or performances that he permits to license or use his name,
           10
                      trademark, likeness, identity and persona.
           11
                                                     Defendant, Opulous
           12

           13      16. Defendant, OPULOUS, is a business entity formed and headquartered in the Central Region

           14         of Singapore.

           15      17. At all material times, Defendant, OPULOUS, regularly conducted and continues to
           16         regularly conduct substantial business within this jurisdiction.
           17
                   18. OPULOUS was founded in or around 2021 by Defendant, LEE JAMES PARSONS, who
           18
                      serves as its CEO and primary owner. Defendant, LEE JAMES PARSONS, is also the
           19
                      founder and CEO of Defendant, DITTO MUSIC.
           20
                   19. OPULOUS markets itself as a company which “brings Decentralized Finance to the music
           21
                      industry, changing how artists access the funding they need and providing a launchpad for
           22
                      the first music copyright-backed NFTs”. (See, www.opulous.org).
           23

           24      20. By way of background, NFTs, or non-fungible tokens, are unique pieces of digital content

           25         linked to the blockchain, which is the digital database underpinning cryptocurrencies such

           26         as Bitcoin and Ethereum. NFTs have been liked to digital passports because the unique,

           27         non-transferable identity for each token distinguishes it from all other tokens and allows

           28         the token to be efficiently and securely bought, sold, and traded. One of the early and
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            1         prominent uses of NFTs has been the creation of an entire market for tokenized digital art,

            2         but NFTs have utility for real-world tangible assets as well.

            3      21. In essence, Defendant, OPULOUS’s primary product / service is the offering of ownership
            4         interest in a musician’s copyrighted work to the public at large, using NFTs as the means
            5         by which the ownership interest is transferred and maintained.
            6
                   22. Of course, it is axiomatic that in order to offer the ownership interest to any musician’s
            7
                      copyrighted work, Defendant, OPULOUS, must first have the agreement and consent of
            8
                      the musician at issue to sell the copyright to his or her work, with the musician in turn
            9
                      entitled to a share of the proceeds from the sale thereof.
           10
                                                        Defendant, Ditto Music
           11

           12      23. DITTO MUSIC is a business entity formed and headquartered in Liverpool, England.

           13      24. At all material times, Defendant, DITTO MUSIC, regularly conducted and continues to
           14         regularly conduct substantial business within this jurisdiction.
           15
                   25. DITTO music was also founded by Defendant, LEE JAMES PARSONS, who serves as its
           16
                      CEO and its primary owner.
           17
                   26. DITTO MUSIC serves primarily markets itself as an online music distribution company,
           18
                      and also purports to offer its clientele record label and music publishing services.
           19
           20                                       Defendant, Lee James Parsons

           21      27. Defendant, LEE JAMES PARSONS, is a resident of London, England.
           22
                   28. At all material times, Defendant, LEE JAMES PARSONS, regularly conducted and
           23
                      continues to regularly conduct substantial business within this jurisdiction.
           24
                   29. Defendant, LEE JAMES PARSONS, is the founder, chief executive officer and primary
           25
                      owner of Defendants, OPULOUS and DITTO MUSIC.
           26

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            1                               DEFENDANT’S WRONGUL CONDUCT

            2      30. In early 2021, Defendants, DITTO MUSIC and LEE JAMES PARSONS founded
            3         OPULOUS, and quickly began searching for high profile recording artists to partner with
            4         for OPULOUS’ commercial launch of music copyright-backed NFTs.
            5
                   31. On or about May 19, 2021, Defendant, LEE JAMES PARSONS, on behalf of both
            6
                      OPULOUS and DITTO MUSIC, sought an introduction to Plaintiff’s management to
            7
                      discuss having Plaintiff be involved in the inaugural launching of OPULOUS’s products
            8
                      and services.
            9
                   32. On May 24, 2021, a conference call / virtual meeting took place involving, inter alia,
           10
                      Plaintiff’s management, LEE JAMES PARSONS, and Fernando Cruz, who serves as Chief
           11
                      Marketing Officer for OPULOUS. This meeting was a general introductory meeting
           12
                      wherein Defendant, LEE JAMES PARSONS, and his employee, Fernando Cruz, pitched
           13
                      Plaintiff’s management on Plaintiff being involved with the OPULOUS platform. During
           14
                      this meeting, no agreement or deal terms for Plaintiff’s involvement was ever reached.
           15

           16      33. The next day, on May 25, 2021, another conference call / virtual meeting took place, and

           17         on this call, Plaintiff, LIL YACHTY, joined with his management, and OPULOUS and

           18         DITTO MUSIC were again represented by LEE JAMES PARSONS and Fernando Cruz.

           19         This meeting was also a general introductory meeting wherein Defendant, LEE JAMES

           20         PARSONS, and his employee, Fernando Cruz, generally pitched Plaintiff, LIL YACHTY,

           21         on the OPULOUS platform. Similarly, during this meeting, no agreement or deal terms for

           22         Plaintiff’s involvement was ever reached.

           23      34. Subsequent to the conference call / virtual meeting on May 24, 2021, there were no further

           24         communications between the parties, and accordingly no agreement or deal terms for

           25         Plaintiff’s involvement in the Defendants’ launch of the OPULOUS platform was ever

           26         reached.

           27      35. Notwithstanding, just seven (7) days later, on June 1, 2021, Defendants collectively
           28
  Printed On          launched a press and advertisement campaign falsely representing that Plaintiff, LIL
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            1         YACHTY, was affiliated, connected, and associated with the OPULOUS platform, and

            2         further falsely representing that Plaintiff’s copyrighted works would be offered for sale

            3         through the OPULOUS platform. In these publications, Defendants prominently displayed

            4         Plaintiff’s name, trademark, and photograph, all without Plaintiff’s permission or consent.

            5         Specifically:

            6         •   On June 1, 2021, Defendant, OPULOUS, issued a press release through its own
            7             website, attached here as “Exhibit B”, wherein it touted that “[r]ight now…we’ll be
            8             kicking things off with a series of unmissable NFT drops led by world-famous artists
            9             including Lil Yachty…”(emphasis added). Defendant, OPULOUS, through its
           10             Twitter account, @opuousapp, then published a link to view the press release along
           11             with a photograph of Plaintiff. See:
           12

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           26         [Note that Plaintiff, LIL YACHTY, is the depicted on the left in the above screenshot)
           27
                      •   Similarly, on June 1, 2021, Defendant, DITTO MUSIC, published through its Twitter
           28
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                          account, @Dittomusic, the same graphic showing Plaintiff’s photograph, using his


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            1             name and trademark, and falsely representing that Plaintiff was affiliated with

            2             Defendants’ collective launch of OPULOUS. See:

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                      •   Also on June 1, 2021, Defendant, LEE JAMES PARSONS, published from his Twitter
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                          account, @ceoleeparsons, an additional message which contained Plaintiff’s image
           22
                          and name and again falsely represented Defendants’ non-existent affiliation with
           23
                          Plaintiff. Making matters more egregious, in this post, Defendant, LEE JAMES
           24
                          PARSONS, including a link to an article published by Music Business Worldwide
           25
                          which contained numerous statements made by LEE JAMES PARSONS both falsely
           26
                          representing Plaintiff’s affiliation and involvement with the OPULOUS platform, as
           27
                          well as touting the significance to the OPULOUS platform of having an artist as high
           28
  Printed On
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            1            NFT offerings. See, for example, the following quotes from within the article, a full

            2            copy of which is attached here as “Exhibit C”,

            3               “Opulous plans to launch a series of exclusive music NFT drops on Binance with
            4                ‘major artists’ led by Lil Yachty…” (emphasis added)
            5
                            “I’ve been passionate about the applications of crypto and blockchain technology
            6
                             within the music industry for many years, and believe the launch of NFT drops
            7
                             like these will help to strengthen the connection between artists and their fans
            8
                             well   into   the   future”.   (direct   quote   of   Defendant,   LEE   JAMES
            9
                             PARSONS)(emphasis added).
           10
                         See also, a screenshot of Defendant, LEE JAMES PARSON’s twitter post:
           11

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            1         •   On June 2, 2021, Defendant, OPULOUS, again disseminated the Music Business

            2             Worldwide article attached here as “Exhibit C”, and again published Plaintiff’s name,

            3             trademark, and image falsely representing that Plaintiff was affiliated and involved

            4             with the launch of Defendants’ products and services. See:

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           15         •   On June 2, Defendant, DITTO MUSIC, through its subsidiary Ditto Music Africa, also
           16             again disseminated the Music Business Worldwide article attached here as “Exhibit
           17             C”, again published Plaintiff’s name, trademark, and image falsely representing that
           18             Plaintiff was affiliated and involved with the launch of Defendants’ products and
           19             services. See:
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            1         •   On June 3, 2021, Defendants caused another press release article to be released through

            2             Binance, Defendants’ partner in the launch of its OPULOUS branded products and

            3             services. That press release, attached here as “Exhibit D”, again falsely touted

            4             Plaintiff’s involvement with the launch of Defendants’ products and services, and

            5             again highlighted the importance of Plaintiff’s alleged flagship / inaugural

            6             involvement to the ultimate success of OPULOUS and Defendants’ offerings. See, for

            7             example, the following quote:

            8                •   “The exclusive NFT drops on Binance NFT, led by Lil Yachty…, will give
            9                    fans a taste of what to expect when Opulous rolls out its launchpad for music
           10                    NFTs”.
           11
                      •   On June 3, 2021, Defendant, LEE JAMES PARSONS, again published through his
           12
                          twitter account Plaintiff’s image in promotion of OPULOUS’s products and services.
           13
                          See:
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            1         •   As of the current date, Plaintiff’s name and image and the announcement of his alleged

            2             involvement with Defendants’ products and services are still prominently displayed on

            3             the home page of OPULOUS’ LinkedIn account, highlighting the prominent use by

            4             Defendant of this non-existent partnership / business relationship. See:

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            1     36. The above specified commercial advertisements and statements (hereinafter, collectively

            2        referred to as the “Infringing Ads”) falsely represent and imply that Plaintiff, LIL

            3        YACHTY, sponsors, endorses, or is associated with Defendants’ commercial enterprises

            4        and Defendants’ collective launching of the OPULOUS platform and NFT products.

            5     37. At no time did Defendants have authorization or consent to utilize Plaintiff’s name,
            6        trademark, or image in connection with the Infringing Ads, or otherwise.
            7
                  38. In fact, at all times, Defendants acted with actual malice in that Defendants knew that they
            8
                     did not have authorization to utilize Plaintiff’s name, trademark or image in connection
            9
                     with the Infringing Ads, yet did so anyways because same was beneficial to Defendants’
           10
                     commercial enterprises in general and their launching of the OPULOUS platform
           11
                     specifically, in blatant and conscious disregard for Plaintiff’s exclusive legal rights to
           12
                     control the use and exploitation of his name, trademark, and image.
           13
                  39. The Infringing Ads are likely to cause confusion, and have caused actual confusion, in the
           14
                     minds of the consuming public as to an association of Plaintiff with Defendants,
           15
                     OPULOUS, DITTO MUSIC, and LEE JAMES PARSONS.
           16
                  40. Defendants have undoubtedly profited for their unlawful misappropriation and use of
           17
                     Plaintiff’s name, trademark, and image. For example, following their above detailed media
           18
                     blitz falsely touting Plaintiff’s involvement with its offering of products and services,
           19
                     Defendants began raising investment funds for the OPULOUS platform, and utilized their
           20
                     alleged relationship with Plaintiff as a keystone indicator of the success and viability of the
           21
                     OPULOUS platform. The circumstances of Defendants’ malicious and wrongful
           22
                     profiteering was in fact chronicled directly by Defendant, LEE JAMES PARSONS, in an
           23
                     another interview he provided to the media. Specifically, on June 16, 2021, Music Business
           24
                     Worldwide published another article featuring statements and quotes from LEE JAMES
           25
                     PARSONS, including his implicit acknowledgements that Defendants had raised $6.5
           26
                     million in funding due, in large part, to the alleged involvement of Plaintiff, LIL YACHTY
           27
                     with OPULOUS’ platform and inaugural offerings. That article is attached her as “Exhibit
           28
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            1         •   “Parsons says that Opulous plans to launch a series of these exclusive music NFT drops

            2             with ‘major artists’ – led by Lil Yachty…” (emphasis added)

            3         •   “ ‘Obviously, we want the biggest artists out there to start selling NFTs through the
            4             Opulous platform’ says Opulous Founder, Lee Parsons.”
            5
                      •   “Now, having completed a successful multi-million dollar financing round to fund the
            6
                          next stage of its growth, Opulous is welcoming a wider range of artists onto its
            7
                          platform…”
            8
                  41. Defendants have never remitted any funds or earnings to Plaintiff despite generating
            9
                     millions of dollars from the use of his name, trademark, and image.
           10

           11                                 FIRST CLAIM FOR RELIEF

           12         (Federal Trademark Infringement (15 U.S.C. §§ 1114) against OPULOUS)
           13
                  42. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           14
                     set forth herein.
           15
                  43. Plaintiff has continuously used the federally registered LIL YACHTY mark in connection
           16
                     with his vast and varied commercial endeavors.
           17
                  44. Defendant, OPULOUS’ use and/or publication of the LIL YACHTY trademark in the
           18
                     Infringing Ads was made in connection with the sale and advertising of Defendant’s
           19
                     products and services, and was so used without Plaintiff’s consent.
           20
                  45. Defendant, OPULOUS’ unauthorized use of the LIL YACHTY trademark in the Infringing
           21
                     Ads was so done by Defendant with the actual knowledge that the use was likely to cause
           22
                     confusion or mistake as to Plaintiff’s affiliation, involvement , connection and association
           23
                     with Defendant, and in fact such confusion has occurred.
           24
                  46. At all times, Defendant, OPULOUS, was aware of Plaintiff’s rights in and to the LIL
           25
                     YACHTY mark, yet still utilized same without authorization in violation of federal law,
           26
                     codified at 15 U.S.C. § 1114.
           27
                  47. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           28
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            1                                 SECOND CLAIM FOR RELIEF

            2        (Federal Trademark Infringement (15 U.S.C. §§ 1114) against DITTO MUSIC)
            3
                   48. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
            4
                      set forth herein.
            5
                   49. Plaintiff has continuously used the federally registered LIL YACHTY mark in connection
            6
                      with his vast and varied commercial endeavors.
            7
                   50. Defendant, DITTO MUSIC’s use and/or publication of the LIL YACHTY trademark in the
            8
                      Infringing Ads was made in connection with the sale and advertising of Defendant’s
            9
                      products and services, and was so used without Plaintiff’s consent.
           10
                   51. Defendant, DITTO MUSIC’s unauthorized use of the LIL YACHTY trademark in the
           11
                      Infringing Ads was so done by Defendant with the actual knowledge that the use was likely
           12
                      to cause confusion or mistake as to Plaintiff’s affiliation, involvement , connection and
           13
                      association with Defendant, and in fact such confusion has occurred.
           14
                   52. At all times, Defendant, DITTO MUSIC, was aware of Plaintiff’s rights in and to the LIL
           15
                      YACHTY mark, yet still utilized same without authorization in violation of federal law,
           16
                      codified at 15 U.S.C. § 1114.
           17
                   53. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           18
                      and will continue to suffer damages in an amount to be proven at trial.
           19
           20                                  THIRD CLAIM FOR RELIEF

           21    (Federal Trademark Infringement (15 U.S.C. §§ 1114) against LEE JAMES PARSONS)
           22
                   54. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           23
                      set forth herein.
           24
                   55. Plaintiff has continuously used the federally registered LIL YACHTY mark in connection
           25
                      with his vast and varied commercial endeavors.
           26
                   56. Defendant, LEE JAMES PARSONS’ use and/or publication of the LIL YACHTY
           27
                      trademark in the Infringing Ads was made in connection with the sale and advertising of
           28
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            1     57. Defendant, LEE JAMES PARSONS’ unauthorized use of the LIL YACHTY trademark in

            2         the Infringing Ads was so done by Defendant with the actual knowledge that the use was

            3         likely to cause confusion or mistake as to Plaintiff’s affiliation, involvement , connection

            4         and association with Defendant, and in fact such confusion has occurred.

            5     58. At all times, Defendant, LEE JAMES PARSONS, was aware of Plaintiff’s rights in and to

            6         the LIL YACHTY mark, yet still utilized same without authorization in violation of federal

            7         law, codified at 15 U.S.C. § 1114.

            8     59. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered

            9         and will continue to suffer damages in an amount to be proven at trial.

           10                                FOURTH CLAIM FOR RELIEF
           11    (Federal Unfair Competition and False Representation of Affiliation (15 U.S.C. § 1125)
                                                against OPULOUS)
           12

           13     60. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully

           14         set forth herein.

           15     61. In the Infringing Ads published by Defendant, OPULOUS, Defendant knowingly and
           16         intentionally falsely represented that Plaintiff, LIL YACHTY, was affiliated, connected, or
           17         associated with Defendant and its commercial enterprises and products offerings, including
           18         the OPULOUS platform.
           19
                  62. Defendant, OPULOUS, has and continues to to falsely designate its goods and services as
           20
                      being derived from and/or affiliated with Plaintiff, LIL YACHTY.
           21
                  63. Defendant, OPULOUS’ unauthorized use of Plaintiff’s name, trademark, and image in the
           22
                      Infringing Ads and otherwise is likely to cause, and has in fact cased, relevant consumers
           23
                      to mistakenly believe that Defendant has an affiliation with Plaintiff, that Defendant’s
           24
                      commercial activities and product offerings are sponsored or approved by Plaintiff, or that
           25
                      Defendant is otherwise associated with or has obtained permission from Plaintiff to utilize
           26
                      his name, trademark and image in connection with the advertisement and promotion of
           27
                      Defendant’s commercial activities and product offerings.
           28
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            1     64. By engaging in the unauthorized activities described above, Defendant has made, and

            2         continues to make, false, deceptive, and misleading statements constituting false

            3         representations and false advertising made in connection with the sale of goods or services

            4         distributed in interstate commerce in violation of Section 43(a) of the Lanham Act, 15

            5         U.S.C. § 1125 (a). Furthermore, in light of Defendant’s actual knowledge that its statements

            6         were false, Defendant’s activities were, and remain, willful and intentional.

            7     65. Defendant’s willful and intentional acts of unfair competition and false advertisement have
            8         caused and continue to cause great and irreparable injury and damage to Plaintiff’s business
            9         and goodwill.
           10
                  66. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           11
                      and will continue to suffer damages in an amount to be proven at trial.
           12
                                              FIFTH CLAIM FOR RELIEF
           13
                 (Federal Unfair Competition and False Representation of Affiliation (15 U.S.C. § 1125)
           14                                 against DITTO MUSIC)
           15
                  67. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           16
                      set forth herein.
           17
                  68. In the Infringing Ads published by Defendant, DITTO MUSIC, Defendant knowingly and
           18
                      intentionally falsely represented that Plaintiff, LIL YACHTY, was affiliated, connected, or
           19
                      associated with Defendant and its commercial enterprises and products offerings, including
           20
                      the OPULOUS platform founded by DITTO MUSIC.
           21

           22     69. Defendant, DITTO MUSIC, has and continues to falsely designate its goods and services

           23         as being derived from and/or affiliated with Plaintiff, LIL YACHTY.

           24     70. Defendant, DITTO MUSIC’s unauthorized use of Plaintiff’s name, trademark, and image
           25         in the Infringing Ads and otherwise is likely to cause, and has in fact cased, relevant
           26         consumers to mistakenly believe that Defendant has an affiliation with Plaintiff, that
           27         Defendant’s commercial activities and product offerings are sponsored or approved by
           28         Plaintiff, or that Defendant is otherwise associated with or has obtained permission from
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            1         Plaintiff to utilize his name, trademark and image in connection with the advertisement and

            2         promotion of Defendant’s commercial activities and product offerings.

            3     71. By engaging in the unauthorized activities described above, Defendant has made, and
            4         continues to make, false, deceptive, and misleading statements constituting false
            5         representations and false advertising made in connection with the sale of goods or services
            6         distributed in interstate commerce in violation of Section 43(a) of the Lanham Act, 15
            7         U.S.C. § 1125 (a). Furthermore, in light of Defendant’s actual knowledge that its statements
            8         were false, Defendant’s activities were, and remain, willful and intentional.
            9
                  72. Defendant’s willful and intentional acts of unfair competition and false advertisement have
           10
                      caused and continue to cause great and irreparable injury and damage to Plaintiff’s business
           11
                      and goodwill.
           12
                  73. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           13
                      and will continue to suffer damages in an amount to be proven at trial.
           14

           15                                 SIXTH CLAIM FOR RELIEF

           16    (Federal Unfair Competition and False Representation of Affiliation (15 U.S.C. § 1125)
                                          against LEE JAMES PARSONS)
           17
                  74. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           18
                      set forth herein.
           19
           20     75. In the Infringing Ads published by Defendant, LEE JAMES PARSONS, Defendant

           21         knowingly and intentionally falsely represented that Plaintiff, LIL YACHTY, was

           22         affiliated, connected, or associated with Defendant and its commercial enterprises and

           23         products offerings, including the OPULOUS platform founded and owned by LEE JAMES

           24         PARSONS.

           25     76. Defendant, LEE JAMES PARSONS, has and continues to falsely designate its goods and
           26         services as being derived from and/or affiliated with Plaintiff, LIL YACHTY.
           27
                  77. Defendant, LEE JAMES PARSONS’ unauthorized use of Plaintiff’s name, trademark, and
           28
  Printed On          image in the Infringing Ads and otherwise is likely to cause, and has in fact cased, relevant
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            1        consumers to mistakenly believe that Defendant has an affiliation with Plaintiff, that

            2        Defendant’s commercial activities and product offerings are sponsored or approved by

            3        Plaintiff, or that Defendant is otherwise associated with or has obtained permission from

            4        Plaintiff to utilize his name, trademark and image in connection with the advertisement and

            5        promotion of Defendant’s commercial activities and product offerings.

            6     78. By engaging in the unauthorized activities described above, Defendant has made, and
            7        continues to make, false, deceptive, and misleading statements constituting false
            8        representations and false advertising made in connection with the sale of goods or services
            9        distributed in interstate commerce in violation of Section 43(a) of the Lanham Act, 15
           10        U.S.C. § 1125 (a). Furthermore, in light of Defendant’s actual knowledge that its statements
           11        were false, Defendant’s activities were, and remain, willful and intentional.
           12
                  79. Defendant’s willful and intentional acts of unfair competition and false advertisement have
           13
                     caused and continue to cause great and irreparable injury and damage to Plaintiff’s business
           14
                     and goodwill.
           15
                  80. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           16
                     and will continue to suffer damages in an amount to be proven at trial.
           17

           18                               SEVENTH CLAIM FOR RELIEF

           19      (Violation of the California Common Law Right of Privacy against OPULOUS)
           20
                  81. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           21
                     set forth herein.
           22
                  82. In doing the acts alleged herein, Defendant, OPULOUS, has used for commercial
           23
                     purposes Plaintiff, LIL YACHTY’s, name, trademark and image, without Plaintiff’s
           24
                     consent.
           25

           26     83. The commercial use and misappropriation of Plaintiff’s name, trademark, and image, is a

           27        violation of the California common law right of privacy, which includes the right of

           28        publicity.
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            1     84. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered

            2        and will continue to suffer damages in an amount to be proven at trial.

            3                                EIGHTH CLAIM FOR RELIEF
            4
                     (Violation of the California Common Law Right of Privacy against DITTO MUSIC)
            5
                  85. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
            6
                     set forth herein.
            7

            8     86. In doing the acts alleged herein, Defendant, DITTO MUSIC, has used for commercial

            9        purposes Plaintiff, LIL YACHTY’s, name, trademark and image, without Plaintiff’s

           10        consent.

           11     87. The commercial use and misappropriation of Plaintiff’s name, trademark, and image, is a
           12        violation of the California common law right of privacy, which includes the right of
           13        publicity.
           14
                  88. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           15
                     and will continue to suffer damages in an amount to be proven at trial.
           16
                                              NINTH CLAIM FOR RELIEF
           17
                        (Violation of the California Common Law Right of Privacy against) against LEE
           18                                          JAMES PARSONS)
           19
                  89. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           20
                     set forth herein.
           21
                  90. In doing the acts alleged herein, Defendant, LEE JAMES PARSONS, has used for
           22
                     commercial purposes Plaintiff, LIL YACHTY’s, name, trademark and image, without
           23
                     Plaintiff’s consent.
           24

           25     91. The commercial use and misappropriation of Plaintiff’s name, trademark, and image, is a

           26        violation of the California common law right of privacy, which includes the right of

           27        publicity.

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            1     92. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered

            2        and will continue to suffer damages in an amount to be proven at trial.

            3                                  TENTH CLAIM FOR RELIEF
            4     (Violation of the California Statutory Right of Publicity (Civil Code § 3344) against
                                                      OPULOUS)
            5

            6     93. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully

            7        set forth herein.

            8     94. In doing the acts alleged herein, Defendant, OPULOUS, knowingly, willfully, and
            9        unlawfully used and misappropriated Plaintiff’s name, trademark, and image in the
           10        Infringing Ads for Defendant’s own commercial purposes.
           11
                  95. Defendant’s misappropriation of Plaintiff’s name, trademark, and image for its own
           12
                     commercial purposes is a violation of California Civil Code § 3344.
           13
                  96. As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has suffered
           14
                     and will continue to suffer damages in an amount to be proven at trial.
           15

           16                               ELEVENTH CLAIM FOR RELIEF

           17            (Violation of the California Statutory Right of Publicity (Civil Code § 3344) against
                                                           DITTO MUSIC)
           18
                  97. Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if fully
           19
                     set forth herein.
           20

           21     98. In doing the acts alleged herein, Defendant, DITTO MUSIC, knowingly, willfully, and

           22        unlawfully used and misappropriated Plaintiff’s name, trademark, and image in the

           23        Infringing Ads for Defendant’s own commercial purposes.

           24     99. Defendant’s misappropriation of Plaintiff’s name, trademark, and image for its own
           25        commercial purposes is a violation of California Civil Code § 3344.
           26
                  100.       As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has
           27
                     suffered and will continue to suffer damages in an amount to be proven at trial.
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            1                                     TWELTH CLAIM FOR RELIEF

            2              (Violation of the California Statutory Right of Publicity (Civil Code § 3344) against
                                                         LEE JAMES PARSONS)
            3
                    101.       Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if
            4
                        fully set forth herein.
            5

            6       102.       In doing the acts alleged herein, Defendant, LEE JAMES PARSONS, knowingly,

            7           willfully, and unlawfully used and misappropriated Plaintiff’s name, trademark, and

            8           image in the Infringing Ads for Defendant’s own commercial purposes.

            9       103.       Defendant’s misappropriation of Plaintiff’s name, trademark, and image for its own
           10           commercial purposes is a violation of California Civil Code § 3344.
           11
                    104.       As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has
           12
                        suffered and will continue to suffer damages in an amount to be proven at trial.
           13
                                             THIRTEENTH CLAIM FOR RELIEF
           14
                 (California Unfair Competition (Business & Professions Code § 17200) against OPULOUS)
           15
                    105.       Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if
           16
                        fully set forth herein.
           17

           18       106.       In the Infringing Ads published by Defendant, OPULOUS, Defendant knowingly and

           19           intentionally falsely represented that Plaintiff, LIL YACHTY, was affiliated, connected, or

           20           associated with Defendant and its commercial enterprises and products offerings, including

           21           the OPULOUS platform.

           22       107.       Defendant, OPULOUS, has and continues to falsely designate its goods and services
           23           as being derived from and/or affiliated with Plaintiff, LIL YACHTY.
           24
                    108.       Defendant, OPULOUS’ unauthorized use of Plaintiff’s name, trademark, and image
           25
                        in the Infringing Ads and otherwise is likely to cause, and has in fact cased, relevant
           26
                        consumers to mistakenly believe that Defendant has an affiliation with Plaintiff, that
           27
                        Defendant’s commercial activities and product offerings are sponsored or approved by
           28
  Printed On            Plaintiff, or that Defendant is otherwise associated with or has obtained permission from
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            1         Plaintiff to utilize his name, trademark and image in connection with the advertisement and

            2         promotion of Defendant’s commercial activities and product offerings.

            3     109.      By engaging in the unauthorized activities described above, Defendant has made, and
            4         continues to make, false, deceptive, and misleading statements constituting false
            5         representations and false advertising made in connection with the sale of goods or services
            6         distributed in interstate commerce in violation of Section 17200 of the California Business
            7         and Professions Code. Furthermore, in light of Defendant’s actual knowledge that its
            8         statements were false, Defendant’s activities were, and remain, willful and intentional.
            9
                  110.      Defendant’s willful and intentional acts of unfair competition and false advertisement
           10
                      have caused and continue to cause great and irreparable injury and damage to Plaintiff’s
           11
                      business and goodwill.
           12
                  111.      As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has
           13
                      suffered and will continue to suffer damages in an amount to be proven at trial.
           14

           15                             FOURTEENTH CLAIM FOR RELIEF

           16    (California Unfair Competition (Business & Professions Code § 17200) against DITTO
                                                      MUSIC)
           17
                  112.      Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if
           18
                      fully set forth herein.
           19
           20     113.      In the Infringing Ads published by Defendant, DITTO MUSIC, Defendant knowingly

           21         and intentionally falsely represented that Plaintiff, LIL YACHTY, was affiliated,

           22         connected, or associated with Defendant and its commercial enterprises and products

           23         offerings, including the OPULOUS platform founded by DITTO MUSIC.

           24     114.      Defendant, DITTO MUSIC, has and continues to falsely designate its goods and
           25         services as being derived from and/or affiliated with Plaintiff, LIL YACHTY.
           26
                  115.      Defendant, DITTO MUSIC’s unauthorized use of Plaintiff’s name, trademark, and
           27
                      image in the Infringing Ads and otherwise is likely to cause, and has in fact cased, relevant
           28
  Printed On          consumers to mistakenly believe that Defendant has an affiliation with Plaintiff, that
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            1           Defendant’s commercial activities and product offerings are sponsored or approved by

            2           Plaintiff, or that Defendant is otherwise associated with or has obtained permission from

            3           Plaintiff to utilize his name, trademark and image in connection with the advertisement and

            4           promotion of Defendant’s commercial activities and product offerings.

            5       116.      By engaging in the unauthorized activities described above, Defendant has made, and
            6           continues to make, false, deceptive, and misleading statements constituting false
            7           representations and false advertising made in connection with the sale of goods or services
            8           distributed in interstate commerce in violation of Section 17200 of the California Business
            9           and Professions Code. Furthermore, in light of Defendant’s actual knowledge that its
           10           statements were false, Defendant’s activities were, and remain, willful and intentional.
           11
                    117.      Defendant’s willful and intentional acts of unfair competition and false advertisement
           12
                        have caused and continue to cause great and irreparable injury and damage to Plaintiff’s
           13
                        business and goodwill.
           14
                    118.      As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has
           15
                        suffered and will continue to suffer damages in an amount to be proven at trial.
           16

           17                                 FIFTEENTH CLAIM FOR RELIEF

           18    (California Unfair Competition (Business & Professions Code § 17200) against OPULOUS)

           19       119.      Plaintiff incorporates by reference the allegations of paragraphs 1 through 41 as if
           20           fully set forth herein.
           21
                    120.      In the Infringing Ads published by Defendant, LEE JAMES PARSONS, Defendant
           22
                        knowingly and intentionally falsely represented that Plaintiff, LIL YACHTY, was
           23
                        affiliated, connected, or associated with Defendant and its commercial enterprises and
           24
                        products offerings, including the OPULOUS platform founded and owned by LEE JAMES
           25
                        PARSONS.
           26
                    121.      Defendant, LEE JAMES PARSONS, has and continues to falsely designate its goods
           27
                        and services as being derived from and/or affiliated with Plaintiff, LIL YACHTY.
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            1         122.     Defendant, LEE JAMES PARSONS’ unauthorized use of Plaintiff’s name,

            2             trademark, and image in the Infringing Ads and otherwise is likely to cause, and has in fact

            3             cased, relevant consumers to mistakenly believe that Defendant has an affiliation with

            4             Plaintiff, that Defendant’s commercial activities and product offerings are sponsored or

            5             approved by Plaintiff, or that Defendant is otherwise associated with or has obtained

            6             permission from Plaintiff to utilize his name, trademark and image in connection with the

            7             advertisement and promotion of Defendant’s commercial activities and product offerings.

            8         123.     By engaging in the unauthorized activities described above, Defendant has made, and
            9             continues to make, false, deceptive, and misleading statements constituting false
           10             representations and false advertising made in connection with the sale of goods or services
           11             distributed in interstate commerce in violation of Section 17200 of the California Business
           12             and Professions Code. Furthermore, in light of Defendant’s actual knowledge that its
           13             statements were false, Defendant’s activities were, and remain, willful and intentional.
           14
                      124.     Defendant’s willful and intentional acts of unfair competition and false advertisement
           15
                          have caused and continue to cause great and irreparable injury and damage to Plaintiff’s
           16
                          business and goodwill.
           17
                      125.     As a direct and proximate result of Defendant’s acts alleged herein, Plaintiff has
           18
                          suffered and will continue to suffer damages in an amount to be proven at trial.
           19
           20                                             PRAYER FOR RELIEF

           21           WHEREFORE, Plaintiffs request entry of judgement against Defendants, and each of them,
           22    as follows:
           23                  1.       Compensatory     damages,    consequential   damages,     lost   profits,    and
           24                           disgorgement of Defendants’ profits and funds raised attributable to
           25                           Defendants’ wrongful conduct as detailed herein;
           26                  2.       An award of attorney’s fees and costs as allowable by law;
           27                  3.       Injunctive relief as allowable by law;
           28
  Printed On                   4.       Punitive damages as allowable law; and
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                     5.        Any other relief that is just and proper under the law.

 2

 3    Dated this 26th day of January, 2021.

 4                                                            Respectfully submitted,

 5
                                                              THE ROUSSO, BOUMEL LAW FIRM
 6
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 7                                                            Suite 1520
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 9                                                             /2� ��:::::ib-
10                                                     B��

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                         EXHIBIT “A”
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Reg. No. 5,226,262         Miles McCollum (UNITED STATES INDIVIDUAL)
                           1116 Willow Crest Way
Registered Jun. 20, 2017   Austell, GA 30168

                           CLASS 41: Entertainment services in the nature of live musical performances by a performer
Int. Cl.: 41               or group

Service Mark               FIRST USE 5-1-2015; IN COMMERCE 1-15-2016

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           The name(s), portrait(s), and/or signature(s) shown in the mark identifies "LIL YACHTY",
                           whose consent(s) to register is made of record.

                           SER. NO. 87-029,468, FILED 05-09-2016
                           JEFFREY S DEFORD, EXAMINING ATTORNEY
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                         EXHIBIT “B”
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Opulous collaborates with Binance to launch
exclusive music NFT drops
     Opulous Jun 1, 2021 · 2 min read


We’re delighted to announce our new collaboration with the world’s leading
blockchain ecosystem and crypto exchange Binance.
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Our collab with Binance is great news for the whole Opulous community. We’re set to
create and launch some exclusive music NFT drops with major artists via Binance’s
brand new NFT marketplace.

There’ll be plenty of opportunities to get involved with our sales, so if you’re part of our
awesome community, you’ll be the first to hear about them. Plus, we’re really looking
forward to engaging Binance’s worldwide following and sharing our vision for Opulous
with millions of new music and blockchain enthusiasts.

We’ll also be offering the chance for upcoming artists we work with to list their own
sales on the Binance NFT marketplace down the line, helping them make more money
up-front, raise the cash they need to invest in their own careers and form even closer
relationships with fans.

Right now though, we’ll be kicking things off with a series of unmissable NFT drops
led by world-famous artists including Lil Yachty and Kyle.

But that’s just the start. We’ve got more big-names lined up so keep an eye out for
further announcements coming soon.

Don’t forget that this is Opulous, so these are no ordinary NFTs. We’ve designed these
drops to connect artists with their fans on a whole new level. In fact, our Binance music
NFT sales will also include the opportunity for buyers to take part in once-in-a-lifetime
fan experiences and artist engagements.

Unlike many of our future NFTs, these sales will take place outside of the Opulous
platform on Binance’s upcoming NFT marketplace. It’s an exciting chance for you to
grab one of our first ever Opulous NFTs.

We’ll be releasing more info about our Binance collaboration and future NFT drops
very soon. So as always, make sure to register at opulous.org, join our Telegram group
and follow us on Twitter for all the latest updates as they happen.



 Music   Buy Nfts   Blockchain   Cryptocurrency   Opulous
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                         EXHIBIT “C”
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                                   (https://www.musicbusinessworldwide.com/)




DITTO’S OPULOUS PLATFORM PARTNERS WITH
BINANCE FOR EXCLUSIVE NFTS FROM LIL YACHTY,
KYLE AND OTHER ARTISTS
 393
 SHARES

                                                                                 BY MURRAY STASSEN
(HTTPS://WWW.MUSICBUSINESSWORLDWIDE.COM/REGIONS/NORTH-
                                                 (HTTPS://WWW.MUSICBUSINESSWORLDWIDE.COM/AUTHOR/MSTA
AMERICA/USA/) JUNE 1, 2021




Music NFT and DeFi platform Opulous is planning to create and release NFT collectibles on
Binance NFT, a new non-fungible token marketplace from blockchain ecosystem and
cryptocurrency infrastructure provider, Binance.
   Case 2:22-cv-00587-MWF-MAR Document 1 Filed 01/27/22 Page 36 of 45 Page ID #:36
Established by Ditto Music founder (https://www.musicbusinessworldwide.com/ditto-launches-
opulous-platform-to-help-artists-access-funding-without-the-need-for-traditional-banks/) Lee
Parsons earlier this year, Opulous is a blockchain-powered financial support initiative for artists,
which is described as the first-ever decentralised finance (DeFi) offering backed by music as an
asset class.
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The Opulous platform also facilitates the launch of Opulous Music NFTs, which the company
says is “a new form of NFT” that offers buyers rewards and a share of a song’s future earnings in
exchange for social media support, as well as peer-to-peer DeFi loans.

The NFTs sales will also include the opportunity for buyers to participate in fan experiences and
engagements.
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Opulous plans to launch a series of exclusive music NFT drops on Binance with “major artists”,
led by Lil Yachty and Kyle, with others to be announced soon. Binance NFT launches on June 24.

MBW understands that Opulous is getting ready to announce a string of new exclusive music
copyright NFT sales in tandem with a large industry partner.

This follows Opulous’s pioneering experiment with NFT copyright sales on the blockchain earlier
this year, when it – then known as Bluebox – sold 1% stakes in recordings
(https://www.musicbusinessworldwide.com/having-sold-music-rights-to-125-people-via-nfts-
   Case 2:22-cv-00587-MWF-MAR Document 1 Filed 01/27/22 Page 37 of 45 Page ID #:37
this-music-blockchain-platform-is-evolving-again-2/) by Big Zuu and Taylor Bennett to over 120
people via cryptocurrency transactions.


  “WE’RE DELIGHTED TO WORK WITH BINANCE NFT TO
  LAUNCH THESE EXCLUSIVE NFT DROPS WITH SOME OF THE MOST EXCITING ARTISTS
  FROM ALL OVER THE WORLD.”

  LEE PARSONS, OPULOUS

Opulous CEO Lee Parsons, said: “We’re delighted to work with Binance NFT to launch these
exclusive NFT drops with some of the most exciting artists from all over the world.

“I’ve been passionate about the applications of crypto and blockchain technology within the
music industry for many years, and believe the launch of NFT drops like these will help to
strengthen the connection between artists and their fans well into the future.”
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                         EXHIBIT “D”
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Opulous to launch music NFTs
with Lil Yachty and Kyle
June 2, 2021



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Earlier this year, distributor Ditto launched its Opulous ‘decentralised finance scheme’ as a
blockchain-powered way to offer loans to artists, guaranteed against their streaming
revenues. However, the spin-off company is also exploring non-fungible tokens (NFTs)
including a new partnership with crypto exchange Binance. It will see the company
launching a series of artist-focused NFT drops, starting with Lil Yachty (who has
already launched his own cryptocurrency) and Kyle.


Ditto says that more artist drops will follow, and it’s part of Binance’s own expansion into
NFTs that includes footballer Guti and painter Frank Holliday. The Lil Yachty and Kyle NFT
collections will go live on 24 June on Binance’s marketplace.
                                                                                                               MoonwalkerFM
Opulous is also working on the idea of NFTs that will offer buyers “a share of a song’s                        music NFTs include a
future earnings in exchange for social media support” as well as other rewards.                                share of streaming
                                                                                                               profits
Stuart Dredge


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                         EXHIBIT “E”
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OPULOUS JUST RAISED $6.5 MILLION. NOW IT
WANTS MORE ARTISTS TO SELL NFTS THROUGH
ITS PLATFORM.
  639
 SHARES

                                                                                       BY TIM INGHAM
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JUNE 16, 2021




Lee Parsons


The Opulous platform, devised and launched by the founders of DIY music service Ditto
(https://www.musicbusinessworldwide.com/companies/ditto-music/), has caused ripples
through the music business since it arrived earlier this year.
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(https://www.musicbusinessworldwide.com/ditto-launches-opulous-platform-to-help-artists-
access-funding-without-the-need-for-traditional-banks/)

A blockchain-powered financial platform for artists, in April Opulous – then operating as Bluebox
– hosted the first ever split music copyright sale by artists via NFTs.

British rapper Big Zuu and US artist Taylor Bennett each successfully sold a collection of 1%
stakes in unreleased recordings via the blockchain.
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All 125 of these items (https://www.musicbusinessworldwide.com/having-sold-music-rights-to-
125-people-via-nfts-this-music-blockchain-platform-is-evolving-again-2/) sold out in under 30
seconds with over 10,000 people trying to get into the sale. (Buyers of these 1% stakes acquired
a worldwide exclusive fractional license to these sound recordings, with ownership in perpetuity).

Now, having completed a successful multi-million-dollar financing round to fund the next stage
of its growth, Opulous is welcoming a wider range of artists onto its platform to host similar split
copyright NFT sales.


  “WHEN IT COMES TO SPLIT-COPYRIGHT NFTS, WE SEE A REAL SWEET SPOT HERE FOR
  ARTISTS WHO HAVE, SAY, 3 MILLION-PLUS FOLLOWERS ON SPOTIFY
  (HTTPS://WWW.MUSICBUSINESSWORLDWIDE.COM/COMPANIES/SPOTIFY/).”

  LEE PARSONS, OPULOUS

“Obviously, we want the biggest artists out there to start selling NFTs through the Opulous
platform,” says Opulous founder, Lee Parsons. “But when it comes to the split-copyright NFTs, we
see a real sweet spot here for artists who have, say, 3 million-plus followers on Spotify – artists
with the kind of solid fan-base that will actively want to help promote their music to others, and
will really value owning a stake, and getting a return, from that music’s success.”

What Parsons is describing is, in essence, a future of dedicated global fanbases operating with a
shared determination to fuel their favorite artist’s success – a la BTS’s online ARMY.
(https://www.musicbusinessworldwide.com/bts-set-new-spotify-streaming-record-with-20-9m-
day-one-plays-but-nearly-10m-of-them-are-discounted-on-platforms-chart/)
   Case 2:22-cv-00587-MWF-MAR Document 1 Filed 01/27/22 Page 43 of 45 Page ID #:43
This determination, though, will come not just from fans loving the act in question, but also
because they’re directly invested in their prosperity.

Thanks to a recent partnership with Binance (https://www.musicbusinessworldwide.com/dittos-
opulous-platform-partners-with-binance-for-exclusive-nfts-from-lil-yachty-kyle-and-other-artists/),
artists can also now sell non-copyright NFTs via Opulous, including VIP fan experiences – giving
super-fans a chance to spend big on scarce items from their favourite artists.

Major artists such as Lil Yachty and Kyle have already signed up to sell non-copyright NFTs via
the Opulous/Binance tie-up.
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Meanwhile, Opulous this month closed a $6.5 million funding round from a list of backers soon
to be announced.

Parsons is keeping tight-lipped on the names of Opulous’s new backers for now, but does
confirm that “some of my favorite artists” are investors in the platform.

(A quick glance at the Opulous Twitter account (https://twitter.com/opulousapp) reveals that
people like famed entrepreneur Gary Vaynerchuk – as well as a fair few notable music industry
types – are following the company closely.)

A million dollars of the $6.5 million was raised via a crowd-raise. Parsons says this process
proved so popular it was executed via a lottery system – with users having to prepay their money
with the hope of ‘winning’ an allocation to invest in Opulous.
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  “IN THIS WORLD WHERE ARTISTS NEED AND WANT TO [FINANCE] THEMSELVES VIA THEIR
  COPYRIGHTS, THIS KIND OF [CRYPTO-BASED] FAN-FUNDING IS THE INEVITABLE MODEL OF
  THE FUTURE. AND AS IT BUILDS, IT’S GOING TO BECOME A BIG THREAT TO THE MAJOR
  LABELS.”

  LEE PARSONS, OPULOUS

“We could have raised literally ten times more than that with the level of demand we saw,” says
Parsons, “but right now this is about sensibly taking Opulous to the next level, and bringing on
the next wave of artists selling copyright NFTs for the very first time.”

Added Parsons: “We hear a lot from independent artists, ‘But I want to keep my copyrights, not
sell them.’ And of course that’s one option in a career. But another option is to raise the funds
you need or want direct from your fans, and have those fans become evangelists for you and
your music in the process.

“In this world where artists need and want to [finance] themselves via their copyrights, this kind
of [crypto-based] fan-funding is the inevitable model of the future. And as it builds, it’s going to
become a big threat to the major labels.

“Our software can even track who amongst your ‘army’ is the most engaged and increase their
rewards.”


Earlier this month, Opulous inked its partnership with Binance (https://www.binance.com/en) in
order to allow artists to sell additional, different types of NFTs – not related to copyrights – via
the Binance NFT platform.

Parsons says that Opulous plans to launch a series of these exclusive music NFT drops with
“major artists” – led by Lil Yachty and Kyle – on Binance NFT, with others to be announced soon.

“NFTs are very lucrative,” comments Parsons. “With our Binance collaboration, artists will be able
to sell fan experiences like a day in the studio with themselves, as well as Facetime calls, a day
doing extreme sports together – anything.


  “WE SEE A FUTURE WHERE ARTISTS ARE DOING REGULAR NFT DROPS ON BINANCE
  OUTSIDE OF THEIR COPYRIGHTED MUSIC, SELLING EVERYTHING FROM FUTURE FAN
  EXPERIENCES TO ARTWORKS.”

  LEE PARSONS, OPULOUS
    Case 2:22-cv-00587-MWF-MAR Document 1 Filed 01/27/22 Page 45 of 45 Page ID #:45
“And these items will be trade-able, potentially making even more money for the artists via
secondary trading.”

Adds Parsons: “We see a future where artists are doing regular NFT drops on Binance outside of
their copyrighted music, selling everything from future fan experiences to artworks.

“There is a lot of money to be made.”

Opulous is currently hiring for a Los Angeles-based Head of Artist Services
(https://www.musicbusinessworldwide.com/jobs/opulous-head-of-artist-services-us/), a role
which requires at least 5 years of music industry experience as a high level account manager,
artist liaison or other relevant role.
